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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

 STEPHANIE JONES,
                                                    Case No. 2:20-cv-06312-EP-LDW
                          Plaintiffs
                                                      CONSENT ORDER OF DISMISSAL
         V.
                                                           WITH PREJUDICE
FOX ROTHSCHILD LLP,

                          Defendant.



         Plaintiff Stephanie Jones and Defendant Fox Rothschild LLP, by their undersigned

attorneys, hereby stipulate and agree that any and all claims filed herein by any party against any

other party should and hereby are dismissed with prejudice and without costs or attorneys’ fees

against any party.



By:                                        By:
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         Attorneys for Plaintiff                     Attorneys for Defendant

Dated:                                               Dated:   12/20/22

SO ORDERED:


Honorable Evelyn Padin, U.S.D.J.




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